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                                 IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                             )
                                                      )
v.                                                    )   Case No. 22-cr-14-APM
                                                      )
JONATHAN WALDEN,                                      )

                 UNOPPOSED MOTION TO CONTINUE STATUS CONFERENCE

          Comes now the defendant in the above styled cause, by and through his undersigned

counsel of record, and respectfully requests this Honorable Court to entertain this motion

and thereafter enter an order continuing the status conference currently set on April 21,

2022.      As grounds therefore, defendant would show unto this Honorable Court the

following:

          1.        Undersigned counsel and the Assistant U.S. Attorneys prosecuting the above

referenced case have been in continuous contact with one another relative to a possible

resolution of this case.

          2.        Additional time is needed in an effort to explore resolution.

          3.        The parties continue to communicate and are in dialogue about an ultimate

resolution of this case without the necessity of a trial.

          4.        The time constraints currently prohibit the parties from being in a position to

advise the Court accordingly at the status conference currently set for Friday, April 21, 2022.

          5.        Undersigned counsel respectfully requests additional time within which to

continue the existing dialogue and to be in a better a position to advise the Court

accordingly.

          6.        Defendant is in compliance with all previously imposed conditions of release.


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          7.        The contents of this motion have been discussed with Assistant U.S. Attorney

Troy Edwards, who does not oppose the granting of this motion.

          8.        The granting of this Motion is in the interest of justice, this defendant and does

not work an undue burden on the United States Government.

                    WHEREFORE, PREMISES CONSIDERED, undersigned counsel

respectfully requests this Honorable Court entertain this Motion and thereafter enter an

order continuing this matter for a status conference for at least thirty days.

                                                              Respectfully submitted,


                                                              /s/ Thomas J. Spina
                                                              Thomas J. Spina
                                                              Attorney for Defendant
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                                             CERTIFICATE OF SERVICE

       I hereby certify that on April 19, 2022, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send notification of such filing to all
attorneys of records.

                                                              /s/ Thomas J. Spina
                                                              Thomas J. Spina



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